               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,               )
                                        )
                           Plaintiff,   )
                                        )
vs.                                     )      No. 21-03067-01-CR-S-BCW
                                        )
DAVID PANBEHCHI,                        )
                                        )
                           Defendant.   )


                             ENTRY OF APPEARANCE


       Comes now Ian A. Lewis, Assistant Federal Public Defender, and hereby enters his

appearance as counsel on behalf of Defendant, David Panbehchi, in the above-entitled

cause of action.

                                        Respectfully submitted,

                                        /s/ Ian A. Lewis
                                        IAN A. LEWIS, #52819
                                        Assistant Federal Public Defender
                                        901 St. Louis Street, Suite 801
                                        Springfield, Missouri 65806
                                        (417) 873-9022
                                        Attorney for Defendant

June 7, 2021




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                              CERTIFICATE OF SERVICE


       I hereby certify that on this 7th day of June, 2021, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which sent e-mail

notification of such filing to all CM/ECF participants in this case.

                                            /s/ Ian A. Lewis
                                            IAN A. LEWIS




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